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Anthony D. Dwyer

From: Robert Haddad <rhaddad@brooksidepark.org>

Sent: Wednesday, July 31, 2024 2:03 PM

To: Anthony D, Dwyer

Ce: Charles Gormly; Rammy Azoulay; Ben Colbert; LaTrenda Hicks
Subject: Fwd: Concerns

Update from another neighbor of Mr. Lee's.

Robert F. Haddad, President
Brookside Park Condominium, Inc.
500 Wilson Bridge Drive
Oxon Hill, MD 20745
(301) 567-5000

rooksi k.

nan Forwarded message ---------

From: Rammy Azoulay < mymetropolis.net
Date: Wed, Jul 31, 2024 at 11:15AM

Subject: Fwd: Concerns

To: Robert Haddad < rooksi rk.org>

Good morning Robert,

| just received this email from this individual. When | look up this guy's name he comes up as the owner
of B-1 but obviously felt strong enough to mention this to me.
Do you want me to contact him or maybe legal would like to use him as a witness.

Best regard,

Rammy Azoulay

ne Forwarded message ---------

From: Ricky Blanco <rblan 1 . >
Date: Wed, Jul 31, 2024 at 10:46 AM

Subject: Concerns

To: rammy@mymetropolis.net <rammy@mymetropolis.net>

Good morning, _ EXHIBIT

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Have concerns with 564 Unit D2. | was there to do work. There seems to be at least 3 pitbulls in that unit. The odor
coming out of that area is very foul. Are there rules within the association regarding upkeep. | see that I'm being told about
keeping balcony in order so does it apply to outside/inside also? Are there rules against having that many Pitbulls in one
apartment? They bark really loud and have concerns for safety for the people that live below. I've seen this individual
walking dog with no leash. There is no way this person could control 3 dogs if they were to attack someone. Any updates
on this matter would be greatly appreciated. If | need to reach out to anyone else please let me know.

Thanks

Ricky

5718305263

Sincerely,

B-

